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                        IN THE UNITED STATES DISTRICT COURT
                            DISTRICT OF SOUTH CAROLINA
                                CHARLESTON DIVISION


The Sustainability Institute et al.,      )
                                          )
               Plaintiffs,                )
                                          )
        v.                                )           C.A. No. 2:25-2152-RMG
                                          )
Donald J. Trump, in his official capacity )
as President of the United States, et al. )
                                          )
               Defendants.                )           ORDER
                                          )
____________________________________)

        Since the filing of the briefs related to Plaintiffs’ motion for preliminary injunction, a

number of developments have occurred which may have impacted the status of grants at issue in

this litigation. Defendants noted in their response in opposition to Plaintiff’s motion for a

preliminary injunction that certain grant funds initially paused may have subsequently become

available to Plaintiff grantees. (Dkt. No. 56 at 2). Further, the Court was advised by Plaintiffs that

certain grants that were initially paused have now been terminated. (Dkt. No. 35 at 2).

        Recently, the United States District Court for the District of Rhode Island issued a

nationwide injunction in Woonasquatucket River Watershed Council v. United States Department

of Agriculture, C.A. No. 1:25-97-MSM (D.R.I. April 15, 2025), which ordered certain Defendants

in this action, the United States Environmental Protection Agency, United States Department of

Energy, and United States Department of Agriculture, to “resume processing, disbursement, and

payment of already awarded funding appropriated under the Inflation Reduction Act and the

Infrastructure Investment and Jobs Act, and to release awarded funds previously withheld or

rendered inaccessible.” (Dkt. No. 45 at 61). The Rhode Island Court further directed Defendants



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to file a status report on or before April 16, 2025 apprising the Court of the status of their

compliance with the Order. (Id. at 62). Defendants submitted a status report to the Rhode Island

District Court on April 16, 2025, stating that the Defendant agencies “are actively working through

the process of resuming appropriate funding disbursements pursuant to the Court’s Order.”

(Woonasquatucket River Watershed Council v. United States Department of Agriculture, Dkt No.

47 at 3).

        Defendants are directed to provide the Court a status report on or before April 22, 2025 at

5:00 p.m. which addresses the following:

        1. The status of Defendants’ efforts to resume “processing, disbursement, and payment”

            of grants subject to the Woonasquatucket River Watershed Council injunction; and

        2. The specific status of the grants set forth at Dkt. No. 25-1 at 14-20, indicating whether

            the grant funds for each grant are presently paused, accessible to grantees, or

            terminated.

        AND IT IS SO ORDERED.



                                                     s/ Richard Mark Gergel
                                                     Richard Mark Gergel
                                                     United States District Judge


April 21, 2025
Charleston, South Carolina




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